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From: Kaveh Afrasiabi

Sent: Sunday, February 14, 2021 5:34 AM

To: Samuel Rosh; Talia Magnas; Richardson lan (USANYE) 1; Deirdre Vondornum
Subject: Re: please read this

CAUTION - EXTERNAL:

Dear Mr. Samuel Rosh:

For the court's attention, here is the link for my Open Letter to American Political Science Association.
This Letter will be sent to the officers and president, as well as members, of the said association:

Open Letter to American Political Science Association

 

 

Open Letter to American Political Science
Association

 

 

 

Thank you.

Afrasiabi, Pro Se

On Saturday, February 13, 2021, 10:42:39 AM EST, Kaveh Afrasiabi wrote:

Dear Samuel:
M.1.T. professor Noam Chomsky's reaction to my latest letter to the court below. Please bring this to
the Judge's attention.

Afrasiabi, Pro Se

n---- Forwarded Message -----
From: Noam Chomsky <chomsky@mit.edu>
To: Kaveh Afrasiabi
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Sent: Friday, February 12, 2021, 11:58:45 PM EST
Subject: Re: please read this

Powerful statement. | hope someone will hear.

From: Kaveh Afrasiabi

Date: Friday, February 12, 2021 at 9:43 PM
To: Noam Chomsky <chomsky@mit.edu>
Subject: please read this

Hi Noam see attached

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.
